Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 1 of 20



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


  ALAN GUERECA , individually and on behalf of          CASE NO. ____________
  all others similarly situated,

               Plaintiff,
                                                        (JURY TRIAL DEMANDED)
  v.

  MOTORSPORT.TV DIGITAL, LLC

               Defendant.


          ALAN GUERECA, individually and on behalf of all others similarly situated, makes the

  following allegations pursuant to the investigation of counsel and based upon information and

  belief, except as to allegations pertaining specifically to himself or his counsel, which are based

  on personal knowledge.

                                       NATURE OF THE CASE

          1.        Plaintiff brings this action for legal and equitable remedies to redress and put a

  stop to Defendant Motorsport.tv Digital, LLC’s practices of knowingly disclosing Plaintiff’s and

  its other customers’ identities, their subscriptions, and the titles of the prerecorded video materials

  that they purchased to Meta Platforms, Inc. (“Meta”), formerly known as Facebook, Inc.

  (“Facebook”), in violation of the federal Video Privacy Protection Act (“VPPA”), 18 U.S.C. §

  2710.

          2.      Over the past two years, Defendant has systematically transmitted (and continues

  to transmit today) its customers’ personally identifying subscription and video viewing

  information to Meta using a snippet of programming code called the “Meta Pixel,” which

  Defendant chose to install on its website.
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 2 of 20




          3.      The information Defendant disclosed, and continues to disclose, to Meta, via the

  Meta Pixel it installed on its website, includes a consumer’s Facebook ID (“FID”) along with his

  or her subscription and the title of each of the specific videos that the consumer requested or

  obtained on Defendant’s website. A consumer’s FID is a unique sequence of numbers linked to

  the Meta profile belonging to that consumer. The consumer’s Meta profile, in turn, publicly

  identifies the person by name, and contains other personally identifying information about the

  consumer as well. Entering “facebook.com/[FID]” into a web browser returns the Meta profile of

  the person to whom the FID corresponds. Thus, the FID identifies a person more precisely than a

  name, as numerous persons may share the same name but each person’s Facebook profile (and

  associated FID) uniquely identifies one and only one person. In the simplest terms, the Meta Pixel

  installed by Defendant captures and discloses to Meta information that reveals the specific videos

  that a particular person viewed as a subscriber of Defendant’s website (hereinafter, “Private

  Viewing Information”).

          4.      Defendant disclosed and continues to disclose that a consumer purchased a

  subscription to Defendant’s website and its customers’ Private Viewing Information to Meta

  without asking for, let alone obtaining, its customers’ consent to these practices.

          5.      The VPPA clearly prohibits what Defendant has done. Subsection (b)(1) of the

  VPPA provides that, absent the consumer’s prior informed, written consent, any “video tape

  service provider who knowingly discloses, to any person, personally identifiable information

  concerning any consumer of such provider shall be liable to the aggrieved person for,” 18 U.S.C.

  § 2710(b)(1), inter alia, liquidated damages in the amount of $2,500.00 per violation and equitable

  relief, see id. § 2710(c).




                                                   2
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 3 of 20




          6.        Accordingly, on behalf of himself and the putative Class members defined

  below, Plaintiff brings this Class Action Complaint against Defendant for intentionally and

  unlawfully disclosing his subscription and Personal Viewing Information to Meta.

                                               PARTIES

     I.         Plaintiff Guereca

          7.        Plaintiff Guereca is a citizen and resident of Jackson County, Georgia.

          8.        Plaintiff Guereca is, and at all relevant times was, a user of Meta.

          9.        Plaintiff Guereca is a consumer of the video products and services offered on

  Defendant’s motosport.tv website. He viewed on-demand videos on Defendant’s website after

  purchasing a subscription in June 2023 In purchasing a subscription to view on-demand videos,

  Plaintiff Guereca provided his name, email address, payment information, and zip code.

          10.       On multiple occasions during the two years preceding the filing of this action,

  Plaintiff Guereca obtained pre-recorded videos from Defendant. On each such occasion,

  Defendant disclosed to Meta Plaintiff Guereca’sFID, the specific title of the video he requested

  and obtained, and the URL where he requested access to and obtained the video. Defendant also

  disclosed to Meta information concerning the device Plaintiff Guereca used to request and obtain

  the video.

          11.       At all relevant times, Plaintiff Guereca had a Meta account, a Meta profile, and

  an FID associated with such profile.

          12.       Plaintiff Guereca has never consented, agreed, authorized, or otherwise

  permitted Defendant to disclose subscription or Personal Viewing Information to Meta. In fact,

  Defendant has never even provided Plaintiff Guereca with written notice of its practices of

  disclosing its customers’ subscription and Personal Viewing Information to third parties such as




                                                     3
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 4 of 20




  Meta.

           13.       Because Defendant disclosed Plaintiff Guereca’s subscription and Private

  Viewing Information—including his FID, his purchase videos, the title of the prerecorded video

  materials he accessed and obtained from Defendant’s website, and the URL where such video is

  available—to Meta during the applicable statutory period, Defendant violated Plaintiff Guereca’s

  rights under the VPPA and invaded his statutorily conferred interest in keeping such information,

  which bears on his personal affairs and concerns, private.

     II.         Defendant Motorsport.tv Digital, LLC.

           14.      Defendant is a Florida limited liability company that maintains its principal place

  of business at 5972 NE 4th Avenue, Miami, FL 33137.

           15.      Defendant operates an online digital library of pre-recorded video materials,

  where it is engaged in the business of selling, inter alia, a wide variety of prerecorded video

  materials to consumers across the United States.

                                    JURISDICTION AND VENUE

           16.       The Court has subject-matter jurisdiction over this civil action pursuant to 28

  U.S.C. § 1331 and 18 U.S.C. § 2710.

           17.       Personal jurisdiction and venue are proper because Defendant maintains its

  principle place of business in Miami, FL, within this judicial District.

                               VIDEO PRIVACY PROTECTION ACT

           18.       The VPPA prohibits companies like Defendant from knowingly disclosing to

  third parties like Facebook information that personally identifies consumers like Plaintiff as

  having viewed particular videos or other audio-visual products or services.

           19.       Specifically, the VPPA prohibits “a video tape service provider” from




                                                     4
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 5 of 20




  “knowingly disclos[ing], to any person, personally identifiable information concerning any

  consumer of such provider[.]” 18 U.S.C. § 2710(b)(1). The statute defines a “video tape service

  provider” as “any person, engaged in the business…of rental, sale, or delivery of prerecorded

  video cassette tapes or similar audio visual materials,” 18 U.S.C. § 2710(a)(4), and defines a

  “consumer” as “a renter, purchaser, or subscriber of goods or services from a video tape service

  provider.” 18 U.S.C. § 2710(a)(1). “‘[P]ersonally identifiable information’ includes information

  which identifies a person as having requested or obtained specific video materials or services

  from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

         20.      The VPPA’s purpose is as apropos today as it was at the time of its enactment

  over 35 years ago. Leading up to the statute’s enactment in 1988, members of the United States

  Senate warned that “[e]very day Americans are forced to provide to businesses and others

  personal information without having any control over where that information goes.” Id. Senators

  at the time were particularly troubled by disclosures of records that reveal consumers’ purchases

  and rentals of videos and other audiovisual materials, because such records offer “a window into

  our loves, likes, and dislikes,” such that “the trail of information generated by every transaction

  that is now recorded and stored in sophisticated record-keeping systems is a new, more subtle

  and pervasive form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of Sens.

  Simon and Leahy, respectively).

         21.      Thus, in proposing the Video and Library Privacy Protection Act (which later

  became the VPPA), Senator Patrick J. Leahy (the senior Senator from Vermont from 1975 to

  2023) sought to codify, as a matter of law, that “our right to privacy protects the choice of movies

  that we watch with our family in our own homes.” 134 Cong. Rec. S5399 (May 10, 1988). As

  Senator Leahy explained at the time, it is the personal nature of such information, and the need




                                                    5
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 6 of 20




  to protect it from disclosure, that is the raison d’être of the statute: “These activities are at the

  core of any definition of personhood. They reveal our likes and dislikes, our interests and our

  whims. They say a great deal about our dreams and ambitions, our fears and our hopes. They

  reflect our individuality, and they describe us as people.” Id.

          22.       While these statements rang true in 1988 when the act was passed, the importance

  of legislation like the VPPA in the modern era of data mining is more pronounced than ever

  before. During a recent Senate Judiciary Committee meeting, “The Video Privacy Protection Act:

  Protecting Viewer Privacy in the 21st Century,” Senator Leahy emphasized the point by stating:

  “While it is true that technology has changed over the years, we must stay faithful to our

  fundamental right to privacy and freedom. Today, social networking, video streaming, the

  ‘cloud,’ mobile apps and other new technologies have revolutionized the availability of

  Americans’ information.”1

          23.       Former Senator Al Franken may have said it best: “If someone wants to share

  what they watch, I want them to be able to do so . . . But I want to make sure that consumers have

  the right to easily control who finds out what they watch—and who doesn’t. The Video Privacy

  Protection Act guarantees them that right.” 2

          24.       In this case, however, Defendant deprived Plaintiff and the unnamed Class

  members of that right by systematically (and surreptitiously) disclosing their Personal Viewing

  Information to Facebook, without providing notice to (let alone obtaining consent from) any of




  1
           The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate Judiciary
  Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
  senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-the-21stcentury.

  2
           Chairman Franken Holds Hearing on Updated Video Privacy Law for 21st Century,
  frank.senate.gov (Jan. 31, 2012).



                                                       6
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 7 of 20




  them, as explained in detail below.

                                          BACKGROUND FACTS

      I.         Consumers’ Personal Information Has Real Market Value

           25.       In 2001, Federal Trade Commission (“FTC”) Commissioner Orson Swindle

  remarked that “the digital revolution . . . has given an enormous capacity to the acts of collecting

  and transmitting and flowing of information, unlike anything we’ve ever seen in our lifetimes . .

  . [and] individuals are concerned about being defined by the existing data on themselves.” 3

           26.       More than a decade later, Commissioner Swindle’s comments ring truer than

  ever, as consumer data feeds an information marketplace that supports a $26 billion dollar per

  year online advertising industry in the United States.4

           27.       The FTC has also recognized that consumer data possesses inherent monetary

  value within the new information marketplace and publicly stated that:

           Most consumers cannot begin to comprehend the types and amount of information
           collected by businesses, or why their information may be commercially valuable.
           Data is currency. The larger the data set, the greater potential for analysis—and
           profit.5

           28.       In fact, an entire industry exists while companies known as data aggregators

  purchase, trade, and collect massive databases of information about consumers. Data aggregators

  then profit by selling this “extraordinarily intrusive” information in an open and largely



  3
           FCC,     The     Information      Marketplace    (Mar.     13,    2001),   at   8-11,    available   at
  https://www.ftc.gov/sites/default/files/documents/public_events/information-marketplace-merging-and-exchanging-
  consumer-data/transcript.pdf.

  4
            See Web’s Hot New Commodity: Privacy, Wall Street Journal                          (Feb.   28,   2011),
  http://online.wsj.com/article/SB10001424052748703529004576160764037920274.html.

  5
           Statement     of     FTC        Cmr.   Harbour      (Dec.    7,    2009),     at     2,   available   at
  https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-privacy-
  roundtable/091207privacyroundtable.pdf.



                                                          7
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 8 of 20




  unregulated market.6

          29.       The scope of data aggregators’ knowledge about consumers is immense: “If you

  are an American adult, the odds are that [they] know[] things like your age, race, sex, weight,

  height, marital status, education level, politics, buying habits, household health worries, vacation

  dreams—and on and on.”7

          30.       Further, “[a]s use of the Internet has grown, the data broker industry has already

  evolved to take advantage of the increasingly specific pieces of information about consumers that

  are now available.”8

          31.       Recognizing the serious threat the data mining industry poses to consumers’

  privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-Partisan Privacy Caucus sent

  a letter to nine major data brokerage companies seeking information on how those companies

  collect, store, and sell their massive collections of consumer data, stating in pertinent part:

          By combining data from numerous offline and online sources, data brokers have
          developed hidden dossiers on every U.S. consumer. This large[-]scale aggregation
          of the personal information of hundreds of millions of American citizens raises a
          number of serious privacy concerns. 9

          32.       Data aggregation is especially troublesome when consumer information is sold




  6
           See M. White, Big Data Knows What You’re Doing Right Now, TIME.com (July 31, 2012),
  http://moneyland.time.com/2012/07/31/big-data-knows-what-youre-doing-right-now/.

  7
           N. Singer, You for Sale: Mapping, and Sharing, the Consumer Genome, N.Y. Times (June 16, 2012),
  available at http://www.nytimes.com/2012/06/17/technology/acxiom-the-quiet-giant-of- consumer-database-
  marketing.html.

  8
           Letter from Sen. J. Rockefeller IV, Sen. Cmtee. on Commerce, Science, and Transportation, to S. Howe,
  Chief        Executive        Officer,       Acxiom         (Oct.     9,       2012)        available       at
  http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-4157-a97b-a658c3c3061c.

  9
          See Bipartisan Group of Lawmakers Query Data Brokers About Practices Involving Consumers’ Personal
  Information, Website of Sen. Markey (July 24, 2012), http://www.markey.senate.gov/news/press-releases/bipartisan-
  group-of-lawmakers-query-data-brokers-about-practices-involving-consumers-personal-information.



                                                         8
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 9 of 20




  to direct-mail advertisers. In addition to causing waste and inconvenience, direct-mail advertisers

  often use consumer information to lure unsuspecting consumers into various scams, including

  fraudulent sweepstakes, charities, and buying clubs. Thus, when companies like Motorsport.tv

  share information with data aggregators, data cooperatives, and direct-mail advertisers, they

  contribute to the “[v]ast databases” of consumer data that are often “sold to thieves by large

  publicly traded companies,” which “put[s] almost anyone within the reach of fraudulent

  telemarketers” and other criminals.10

          33.        Disclosures like Defendant’s are particularly dangerous to the elderly. “Older

  Americans are perfect telemarketing customers, analysts say, because they are often at home, rely

  on delivery services, and are lonely for the companionship that telephone callers provide.”11 The

  FTC notes that “[t]he elderly often are the deliberate targets of fraudulent telemarketers who take

  advantage of the fact that many older people have cash reserves or other assets to spend on

  seemingly attractive offers.”12

          34.        Indeed, an entire black market exists where the personal information of

  vulnerable elderly Americans is exchanged. Thus, information disclosures like Defendant’s are

  particularly troublesome because of their cascading nature: “Once marked as receptive to [a

  specific] type of spam, a consumer is often bombarded with similar fraudulent offers from a host

  of scam artists.”13


  10
            See Charles Duhigg, Bilking the Elderly, with a Corporate Assist, N.Y. Times (May 20, 2007), available at
  https://www.nytimes.com/2007/05/20/business/20tele.html.
  11
          Id.

  12
          Fraud Against Seniors: Hearing before the Senate Special Committee on Aging (August 10, 2000) (prepared
  statement of the FTC), available at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
  statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf.

  13
          Id.



                                                          9
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 10 of 20




             35.       Defendant is not alone in violating its customers’ statutory rights and

  jeopardizing their well-being in exchange for increased revenue: disclosing customer and

  subscriber information to data aggregators, data appenders, data cooperatives, direct marketers,

  and other third parties has become a widespread practice. Unfortunately for consumers, however,

  this growth has come at the expense of their most basic privacy rights.

       II.         Consumers Place Monetary Value on their Privacy and Consider Privacy
                   Practices When Making Purchases

             36.       As the data aggregation industry has grown, so too have consumer concerns

  regarding their personal information.

             37.       A recent survey conducted by Harris Interactive on behalf of TRUSTe, Inc.

  showed that 89 percent of consumers polled avoid doing business with companies whom they

  believe do not protect their privacy online. 14 As a result, 81 percent of smartphone users polled

  said that they avoid using smartphone apps that they don’t believe protect their privacy online. 15

             38.       Thus, as consumer privacy concerns grow, consumers are increasingly

  incorporating privacy concerns and values into their purchasing decisions and companies viewed

  as having weaker privacy protections are forced to offer greater value elsewhere (through better

  quality and/or lower prices) than their privacy-protective competitors.

             39.       In fact, consumers’ personal information has become such a valuable commodity

  that companies are beginning to offer individuals the opportunity to sell their personal

  information themselves.16


  14
           See 2014 TRUSTe US Consumer Confidence Privacy Report, TRUSTe, http://www.theagitator.net/wp-
  content/uploads/012714_ConsumerConfidenceReport_US1.pdf.

  15
             Id.

  16
           See Joshua Brustein, Start-Ups Seek to Help Users Put a Price on Their Personal Data, N.Y. Times (Feb.
  12, 2012), available at http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-price-on-
  their-personal-data.html.


                                                        10
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 11 of 20




                40.       These companies’ business models capitalize on a fundamental tenet underlying

  the personal information marketplace: consumers recognize the economic value of their private

  data. Research shows that consumers are willing to pay a premium to purchase services from

  companies that adhere to more stringent policies of protecting their personal data. 17

                41.       Thus, in today’s digital economy, individuals and businesses alike place a real,

  quantifiable value on consumer data and corresponding privacy rights. 18 As such, where a

  business offers customers a service that includes statutorily guaranteed privacy protections, yet

  fails to honor these guarantees, the customer receives a service of less value than the service paid

  for.

         III.         Defendant Uses the Meta Pixel to Systematically Disclose its Customers’
                      Subscription Purchases and Personal Viewing Information to Meta

                42.       As alleged below, when a consumer purchases a subscription to Defendant’s

  website, that purchase of the subscription is communicated to Meta by way of the Meta Pixel.

  Also, when a consumer requests or obtains a specific video, the Meta Pixel technology transmits

  the consumer’s personally identifying information and detailed information concerning the

  specific interactions the subscriber takes on its website (including the consumer’s Private

  Viewing Information revealing the specific videos that he or she requested) to Meta, without the

  subscriber’s consent, in clear violation of the VPPA.

                A. The Meta Pixel



  17
            See Tsai, Cranor, Acquisti, and Egelman, The Effect of Online Privacy Information on Purchasing Behavior,
  22(2) Information Systems Research 254, 254 (2011); see also European Network and Information Security Agency,
  Study on monetising privacy (Feb. 27, 2012), available at https://www.enisa.europa.eu/activities/identity-and-
  trust/library/deliverables/monetising-privacy.

  18
           See Hann, et al., The Value of Online Information Privacy: An Empirical Investigation (Oct. 2003) at 2,
  available at http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&type=pdf (“It is obvious
  that people value online privacy.”).



                                                          11
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 12 of 20




          43.       On February 4, 2004, Mark Zuckerberg and others launched Facebook, now

  known as “Meta”. 19 Since then, Meta has become the world's largest social media platform. To

  create a Meta account, a person must provide, inter alia, his or her first and last name, birthdate,

  gender, and phone number or email.

          44.       The Meta Pixel, first introduced in 2013 as the “Facebook Pixel,” is a unique

  string of code that companies can embed on their websites to allow them to track consumers’

  actions and report the actions back to Meta.

          45.        The Meta Pixel allows online-based companies like Defendant to build detailed

  profiles about their visitors by collecting information about how they interact with their websites,

  and to then use the collected information to service highly targeted advertising to them.

          46.       Additionally, a Meta Pixel installed on a company’s website allows Meta “to

  match . . . website visitors to their respective [Meta] User accounts.” 20 Meta is able to do this

  because it has assigned to each of its users an “FID” number: a unique and persistent identifier

  that allows anyone to look up the user’s unique Meta profile and thus identify the user by name.21

  Then, each transmission of information made from a company’s website to Meta via the Meta

  Pixel is accompanied by the FID of the website’s visitor. Moreover, the Meta Pixel can follow a

  consumer to different websites and across the Internet even after clearing browser history.

          47.       Meta has used the Meta Pixel to amass a vast digital database of dossiers

  comprised of highly detailed personally identifying information about each of its billions of users



  19
          Company Info, FACEBOOK, https://about.fb.com/company-info./.
  20
          https://developers.facebook.com/docs/meta-pixel/get-started.

  21
           For example, Mark Zuckerberg’s FID is reportedly the number “4,” so logging into Facebook and typing
  www.facebook.com/4 in the web browser retrieves Mark Zuckerberg’s Facebook page: www.facebook.com/zuck,
  and all of the additional personally identifiable information contained therein.



                                                         12
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 13 of 20




  worldwide, including information about all of its users’ interactions with any of the millions of

  websites across the Internet on which the Meta Pixel is installed. Meta then monetizes this

  Orwellian database by selling advertisers the ability to serve highly targeted advertisements to

  the persons whose personal information is contained within it.

         48.       Simply put: if a company chooses to install the Meta Pixel on its website, both

  the company who installed it and Meta (the recipient of the information it transmits) are then able

  to “track[] the people and type of actions they take” 22 on the company’s website, including the

  purchases they made, the items they spent time viewing, and, as relevant here, the specific video

  content that they requested or obtained on the website.

         B. Defendant Knowingly Uses the Meta Pixel to Transmit the Subscription
            Purchases and Private Viewing Information of its Customers to Meta

         49.       Defendant allows persons to become digital consumers of its various online-

  based video products and services by subscribing to its website or purchasing on-demand videos

  or bundles. To purchase any of those options, the consumer must provide at least his or her name,

  email address, billing address, and credit- or debit-card (or other form of payment) information.

         50.       After a person has purchased a subscription or gains access to videos on

  Defendant’s website, Defendant uses—and has used at all times relevant hereto—the Meta Pixel

  to disclose to Meta the unencrypted FID of the subscriber and the specific videos that he or she

  requested or obtained from Defendant’s website.

         51.       Defendant intentionally programmed its website (by following step-by-step

  instructions from Meta’s website) to include a Meta Pixel that systematically transmits to Meta

  the FIDs of its customers, any subscription purchase, and the specific titles of video products that

  the customer requested in order to take advantage of the targeted advertising and other


  22
         https://www.facebook.com/business/goals/retargeting.


                                                       13
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 14 of 20




  informational and analytical services offered by Meta.

         52.       With only a person’s FID and the video content name or URL that the person

  requested on Defendant’s website—all of which Defendant knowingly provides to Meta—any

  ordinary person could learn the identity of the person to whom the FID corresponds and the

  specific video products or services that this person requested. This can be accomplished simply

  by accessing the URL www.facebook.com/[unencrypted FID].

         53.       Defendant’s practices of disclosing consumers’ purchases of subscriptions and

  Private Viewing Information to Meta continued unabated for the full duration of the time period

  relevant to this action. At all relevant times, whenever Plaintiff or another consumer purchased a

  subscription or video on Defendant’s website, Defendant disclosed to Meta the specific video

  that was requested (including the URL where such video was accessed), along with the FID of

  the consumer who requested it, which, as discussed above, uniquely identifies the person.

         54.       At all relevant times, Defendant knew that the Meta Pixel disclosed its

  consumers’ subscription purchases and Private Viewing Information to Meta.

         55.       Defendant could easily have programmed its website so that none of its

  consumers’ subscription purchases or detailed Private Viewing Information is disclosed to Meta.

  Instead, Defendant chose to program its website so that all of its customers’ detailed Private

  Viewing Information is sent to Meta en masse.

         56.       Prior to transmitting its customers’ Private Viewing Information to Meta,

  Defendant failed to notify Plaintiff or any of its other customers that it would do so, and neither

  Plaintiff nor any of its other customers have consented (in writing or otherwise) to these practices.

         57.       By intentionally disclosing to Meta Plaintiff’s and its other customers’ FIDs

  together with the subscription information and specific video content they each requested or




                                                   14
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 15 of 20




  obtained, without Plaintiff’s or any of its other customers’ consent to these practices, Defendant

  knowingly and systematically violated the VPPA on an enormous scale.

                               CLASS ACTION ALLEGATIONS

         58.      Plaintiff seeks to represent a class defined as all persons in the United States who,

  during the two years preceding the filing of this action, requested or obtained a subscription to

  Defendant’s website or video content from Defendant’s website while maintaining an account

  with Meta Platforms, Inc. f/k/a Facebook, Inc.

         59.      Class members are so numerous that their individual joinder herein is

  impracticable. On information and belief, members of the Class number in at least the tens of

  thousands. The precise number of Class members and their identities are unknown to Plaintiff at

  this time but may be determined through discovery. Class members may be notified of the

  pendency of this action by mail and/or publication through the membership records of Defendant.

         60.      Common questions of law and fact exist for all Class members and predominate

  over questions affecting only individual class members. Common legal and factual questions

  include, but are not limited to: (a) whether Defendant knowingly disclosed Plaintiff’s and Class

  members’ subscription purchases and Private Viewing Information to Meta;               (b) whether

  Defendant’s conduct violates the Video Privacy Protection Act, 18 U.S.C. § 2710; (c) whether

  Defendant should be enjoined from disclosing Plaintiff’s and Class members’ Private Viewing

  Information to Meta; and (d) whether Plaintiff and Class members are entitled to statutory

  damages for the aforementioned violations.

         61.      The named Plaintiff’s claims are typical of the claims of the Class in that the

  named Plaintiff and the Class members suffered invasions of their statutorily protected right to

  privacy (as afforded by the VPPA), as well as intrusions upon their private affairs and concerns




                                                   15
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 16 of 20




  that would be highly offensive to a reasonable person, as a result of Defendant’s uniform and

  wrongful conduct in intentionally disclosing their Private Purchase Information to Meta.

          62.         Plaintiff is an adequate representative of the Class because his interests do not

  conflict with the interests of the Class members he seeks to represent, he has retained competent

  counsel experienced in prosecuting class actions, and he intends to prosecute this action

  vigorously. Plaintiff and his counsel will fairly and adequately protect the interests of Class

  members.

          63.         The class mechanism is superior to other available means for the fair and efficient

  adjudication of Class members’ claims. Each individual Class Member may lack the resources

  to undergo the burden and expense of individual prosecution of the complex and extensive

  litigation necessary to establish Defendant’s liability. Individualized litigation increases the

  delay and expense to all parties and multiplies the burden on the judicial system presented by this

  case’s complex legal and factual issues. Individualized litigation also presents a potential for

  inconsistent or contradictory judgments. In contrast, the class action device presents far fewer

  management difficulties and provides the benefits of single adjudication, economy of scale, and

  comprehensive supervision by a single court on the issue of Defendant’s liability. Class treatment

  of the liability issues will ensure that all claims and claimants are before this Court for consistent

  adjudication of the liability issues.

                                           CAUSE OF ACTION

                (Violation of the Video Privacy Protection Act, 18 U.S.C. § 2710)

          64.         Plaintiff repeats the allegations asserted in the preceding paragraphs as if fully

  set forth herein.

          65.         Plaintiff brings his claim individually and on behalf of the putative Class




                                                      16
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 17 of 20




  Members against Defendant.

         66.      The VPPA prohibits a “video tape service provider” from knowingly disclosing

  “personally identifying information” concerning any “consumer” to a third party without the

  “informed, written consent (including through an electronic means using the Internet) of the

  consumer.” 18 U.S.C. § 2710.

         67.      As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is “any

  person, engaged in the business, in or affecting interstate or foreign commerce, of rental, sale, or

  delivery of prerecorded video cassette tapes or similar audiovisual materials[.]” Defendant is a

  “video tape service provider” as defined in 18 U.S.C. § 2710(a)(4) because it is engaged in the

  business of delivering audiovisual materials that are similar to prerecorded video cassette tapes

  and those sales affect interstate or foreign commerce.

         68.      As defined in 18 U.S.C. § 2710(a)(1), a “‘consumer’ means any renter, purchaser,

  or consumer of goods or services from a video tape service provider.” As alleged above, Plaintiff

  and Class members, as paid subscribers to Defendant’s website, are consumers of Defendant’s

  service of providing video content. Thus, Plaintiff and Class members are “consumers” as defined

  in 18 U.S.C. § 2710(a)(1).

         69.      As defined in 18 U.S.C. § 2710(a)(3), “‘personally identifiable information’

  includes information which identifies a person as having requested or obtained specific video

  materials or services from a video tape service provider.” Defendant knowingly disclosed

  Plaintiff’s and Class members’ subscription and Private Viewing Information to Meta in the

  manner alleged herein. The subscription and Private Viewing Information that Defendant

  transmitted to Meta constitutes “personally identifiable information” as defined in 18 U.S.C. §

  2710(a)(3) because the transmitted information identified Plaintiff and each Class member to




                                                   17
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 18 of 20




  Meta as an individual who purchased a subscription or requested or obtained video content,

  including the specific video materials requested or obtained from Defendant’s website.

         70.      Defendant never obtained informed, written consent from Plaintiff or any Class

  member to disclose their Private Viewing Information to Meta or any other third party. More

  specifically, Defendant never obtained from Plaintiff or any Class member informed, written

  consent in a form distinct and separate from any form setting forth other legal or financial

  obligations of the consumer; Defendant never obtained from Plaintiff or any Class member

  informed, written consent that, at the election of the consumer, was given at the time the

  disclosure is sought or was given in advance for a set period of time, not to exceed two years or

  until consent is withdrawn by the consumer, whichever is sooner; and Defendant never provided

  an opportunity, in a clear and conspicuous manner, for Plaintiff or any Class member to withdraw

  consent on a case-by-case basis or to withdraw consent from ongoing disclosures, at the

  consumer’s election. See 18 U.S.C. § 2710(b)(2).

         71.      Defendant knowingly disclosed such information to Meta because Defendant

  intentionally installed and programmed the Meta Pixel code on its website, knowing that such

  code would transmit to Meta the subscription purchases and video titles requested by its

  customers and its customers’ unique identifiers (including FIDs) when they subscribed to or

  requested or obtained videos from its website.

         72.      By disclosing Plaintiff’s and Class members’ subscription purchases and Private

  Viewing Information, Defendant violated their statutorily protected right to privacy in the videos

  they requested or obtained from Defendant. 18 U.S.C. § 2710(c).

         73.      As a result of these violations, Defendant is liable to Plaintiff and Class members

  for damages and other relief as provided by the VPPA.




                                                   18
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 19 of 20




         74.     On behalf of himself and all members of the Class, Plaintiff seeks to enjoin

  Defendant’s future disclosures of subscription purchases and its customers’ Private Viewing

  Information; liquidated damages in the amount of $2,500 per violation of the VPPA; reasonable

  attorneys’ fees and costs; and all other preliminary or equitable relief the Court deems

  appropriate. 18 U.S.C. § 2710(c)(2)(A).

                                    PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seek

  a judgment against Defendant Motorsports.tv Digital, LLC as follows:

                 A.     For an order certifying the Class under Rule 23 of the Federal Rules
                        of Civil Procedure and naming Plaintiff as representatives of the Class
                        and Plaintiff’s attorneys as Class Counsel to represent the Class;

                 B.      For an order declaring that Defendant’s conduct as described herein
                         violated the VPPA;

                 C.      For an order finding in favor of Plaintiff and the Class and against
                         Defendant on all counts asserted herein;

                 D.      For an award of $2,500.00 to the Plaintiff and each Class member, as
                         provided by the VPPA, 18 U.S.C. § 2710(c);

                 E.      For an order permanently enjoining Defendant from disclosing the
                         Private Viewing Information of its customers to third parties in
                         violation of the VPPA.

                 F.      For prejudgment interest on all amounts awarded; and

                 G.      For an order awarding punitive damages, reasonable attorneys’ fees,
                         and costs to counsel for Plaintiff and the Class under Rule 23 and 18
                         U.S.C. § 2710(c).




                                                 19
Case 1:24-cv-24066-CMA Document 1 Entered on FLSD Docket 10/21/2024 Page 20 of 20




                               DEMAND FOR TRIAL BY JURY

        Plaintiff demands a trial by jury on all causes of action and issues so triable.



        Dated: October 21, 2024                Respectfully submitted,


                                               HEDIN LLP

                                               /s/ Arun Ravindran

                                               ARUN RAVINDRAN
                                               JULIE E. HOLT
                                               HEDIN LLP
                                               1395 BRICKELL AVE., SUITE 610
                                               MIAMI, FLORIDA 33131-3302
                                               TELEPHONE: (305) 357-2107
                                               FACSIMILE: (305) 200-8801
                                               ARAVINDRAN@HEDINLLP.COM
                                               JHOLT@HEDINLLP.COM

                                               Attorneys for Plaintiff and the Putative Class




                                                  20
